         Case 4:10-cr-00228-LPR Document 14 Filed 09/17/10 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                          PLAINTIFF

v.                               NO. 4:10CR00228-02 JLH

RAY ANTHONY JOHNSON
a/k/a “Kool-Aid”                                                               DEFENDANT


                                          ORDER

       The government’s motion to dismiss the indictment against defendant Ray Anthony Johnson

is GRANTED. Document #13. The indictment against defendant Ray Anthony Johnson is hereby

dismissed without prejudice.

       IT IS SO ORDERED this 17th day of September, 2010.




                                                  ___________________________________
                                                  J. LEON HOLMES
                                                  UNITED STATES DISTRICT JUDGE
